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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAFFI SHAHABIAN ,                                      :        CIVIL ACTION
                Plaintiff,                             :
          v.                                           :        NO. 14-2958
WORLEYPARSONS GROUP, INC.,                             :
                Defendant.                             :



                                           CONFERENCE ORDER

       AND NOW, this 17th day of October, 2014, IT IS HEREBY ORDERED that a
SETTLEMENT CONFERENCE in the above-captioned case will be held on November 24,
2014 at 2:00 P.M., before the Honorable Marilyn Heffley, United States Magistrate Judge, U.S.
Courthouse, 601 Market Street, Room 4001, Philadelphia, PA 19106.

      •   Please notify the Court if settlement is not a real possibility.


      •   The conference will not be held unless counsel has clients with full and complete
          settlement authority physically present for the duration of the conference. Full and
          complete authority means the party’s representative must possess authority
          consistent with the most recent demand. 1

        Please complete the attached confidential settlement conference summary and fax it to
Chambers (267) 299-5053 on or before November 17, 2014. These submissions shall be
submitted to the Court only, and should include a candid discussion of the submitting party's
strengths and weaknesses as well as an offer/demand settlement proposal. This document is not
to be shared with opposing counsel nor filed of record. It is for Judge Heffley’s eyes only.

                                                                BY THE COURT:


                                                                /s/ Marilyn Heffley
                                                                MARILYN HEFFLEY
                                                                UNITED STATES MAGISTRATE JUDGE
cc:       Counsel of Record




1
          Parties include all persons, corporations or other business entities, and insurance companies with an interest
in the case, and each entity with an interest in the case must attend the conference. In the case of corporate or other
business entities, the corporate official with ultimate settlement authority is required to attend. Where an insurance
company is involved, a representative with full and complete settlement authority is also required to attend.
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             CONFIDENTIAL SETTLEMENT CONFERENCE SUMMARY

CAPTION: ___________________________________________________________

DISTRICT COURT JUDGE: __________________________________

TRIAL POOL DATE: __________________________                JURY / NONJURY (Circle One)


COUNSEL ATTENDING SETTLEMENT CONFERENCE:
Name:    ___________________________________________________________
Address: ___________________________________________________________
Phone:   ___________________________________________________________
Client:  ___________________________________________________________

CLIENT ATTENDING SETTLEMENT CONFERENCE:
Name of Individual with full and complete settlement authority who will be present at the
settlement conference (include company and position where applicable):
       __________________________________________________________________

MOTIONS PENDING:
    __________________________________________________________________
    __________________________________________________________________
    __________________________________________________________________

OTHER RELEVANT MATTERS:
    __________________________________________________________________
    __________________________________________________________________
    __________________________________________________________________

PRIOR DEMANDS/OFFERS (include demand/offer dates):

       _________________________________________________________________
       _________________________________________________________________


ATTACH SYNOPSIS OF CASE (The synopsis will include a candid discussion of the
submitting party’s strengths and weaknesses in the case as well as an offer/demand settlement
proposal, and IS STRICTLY LIMITED TO NO MORE THAN FIVE (5) PAGES.)
